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                               UNITED STATES of AMERICA
                 U.S. DISTRICT COURT -- EASTERN DISTRICT OF MICHIGAN

FRANK JOHNSON,


         Plaintiff,                                      DEMAND FOR JURY TRIAL


-vs-                                                     Case No.
                                                         Hon.



ARROW FINANCIAL SERVICES LLC,

         Defendant.

                                COMPLAINT & JURY DEMAND

                                             Jurisdiction

1.       This court has federal question jurisdiction under the Fair Debt Collection Practices Act, 15

         U.S.C. §1692k(d) and 28 U.S.C. §§1331, 1337.

2.       This court may exercise supplemental jurisdiction over the related state law claims arising

         out of the same nucleus of operative facts which give rise to the Federal law claims.

                                               Parties

3.       The Plaintiff to this lawsuit resides in Westland, Michigan in Wayne County.

4.       Arrow Financial Services LLC, (“AFSLLC”) is a corporation doing business in Michigan.

                                                Venue

5.       The transactions and occurrences which give rise to this action occurred in Wayne County.

6.       Venue is proper in the Eastern District of Michigan.




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                                         General Allegations

7.       Plaintiff has lived in the City of Westland in Wayne County, Michigan since 2002.

8.       Plaintiff has never resided in Warren, Michigan.

9.       AFSLLC, a debt collector, sued Mr. Johnson in 37th District Court in Warren, Michigan, in

         spite of the fact that Mr. Johnson lives in Westland, Michigan.

10.      When the Defendant discovered that Mr. Johnson lived in Westland, the Defendant did not

         dismiss the lawsuit without prejudice and file it in the correct forum, but continued to sue

         Mr. Johnson in an inconvenient forum.

                   COUNT I – Fair Debt Collection Practices Act (AFSLLC)

11.      Mr. Johnson incorporates the preceding allegations by reference.

12.      At all relevant times AFSLLC – in the ordinary course of its business – regularly engaged

         in the practice of collecting debts on behalf of other individuals or entities.

13.      AFSLLC is a "debt collector" under the Fair Debt Collection Practices Act ("FDCPA"), 15

         U.S.C. §1692a(6).

14.      AFSLLC violated 15 U.S.C. §1692i.

15.      AFSLLC 's foregoing acts in attempting to collect this alleged debt against Mr. Johnson

         constitute violations of the FDCPA.

16.      Mr. Johnson has suffered damages as a result of these violations of the FDCPA.

                     COUNT II – Michigan Occupational Code (AFSLLC)

17.      Mr. Johnson incorporates the preceding allegations by reference.

18.      AFSLLC is a "collection agency" as that term is defined in the Michigan Occupational Code,

         M.C.L. § 339.901(b).


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19.   Mr. Johnson is a debtor as that term is defined in M.C.L. § 339.901(f).

20.   AFSLLC 's foregoing acts in attempting to collect this alleged debt against Mr. Johnson

      constitute violations of the Occupational Code.

21.   Mr. Johnson has suffered damages as a result of these violations of the Michigan

      Occupational Code.

                                    Demand for Jury Trial

22.   Plaintiff demands trial by jury in this action.

                               Demand For Judgment for Relief

      ACCORDINGLY, Mr. Johnson requests that the Court:

      a.     Assume jurisdiction over all claims;.

      b.     Award actual damages.

      c.     Award statutory damages.

      d.     Award punitive damages.

      e.     Award statutory costs and attorney fees.

                                             Respectfully Submitted,

                                             ADAM G. TAUB & ASSOCIATES
                                             CONSUMER LAW GROUP, PLC

                                             By:        s/ Adam G. Taub
                                                        Adam G. Taub (P48703)
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Dated: December 21, 2010



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